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                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 2 of 57 PageID #:26
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 3 of 57 PageID #:27
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 4 of 57 PageID #:28
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 5 of 57 PageID #:29
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 6 of 57 PageID #:30
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 7 of 57 PageID #:31
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 8 of 57 PageID #:32
                REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 9 of 57 PageID #:33
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 10 of 57 PageID #:34
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 11 of 57 PageID #:35
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 12 of 57 PageID #:36
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 13 of 57 PageID #:37
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 14 of 57 PageID #:38
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 15 of 57 PageID #:39
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 16 of 57 PageID #:40
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 17 of 57 PageID #:41
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 18 of 57 PageID #:42
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 19 of 57 PageID #:43
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 20 of 57 PageID #:44
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 21 of 57 PageID #:45
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 22 of 57 PageID #:46
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 23 of 57 PageID #:47
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 24 of 57 PageID #:48
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 25 of 57 PageID #:49
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 26 of 57 PageID #:50
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 27 of 57 PageID #:51
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 28 of 57 PageID #:52
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 29 of 57 PageID #:53
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 30 of 57 PageID #:54
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 31 of 57 PageID #:55
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 32 of 57 PageID #:56
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 33 of 57 PageID #:57
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 34 of 57 PageID #:58
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 35 of 57 PageID #:59
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 36 of 57 PageID #:60
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 37 of 57 PageID #:61
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 38 of 57 PageID #:62
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 39 of 57 PageID #:63
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 40 of 57 PageID #:64
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 41 of 57 PageID #:65
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 42 of 57 PageID #:66
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 43 of 57 PageID #:67
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 44 of 57 PageID #:68
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 45 of 57 PageID #:69
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 46 of 57 PageID #:70
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 47 of 57 PageID #:71
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 48 of 57 PageID #:72
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 49 of 57 PageID #:73
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 50 of 57 PageID #:74
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 51 of 57 PageID #:75
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 52 of 57 PageID #:76
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 53 of 57 PageID #:77
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 54 of 57 PageID #:78
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 55 of 57 PageID #:79
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 56 of 57 PageID #:80
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-1 Filed: 03/06/24 Page 57 of 57 PageID #:81
